Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 1 of 7




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                    Case No. 9:21-CV-80728-DMM

  SOUTH SPANISH TRAIL, LLC, a Florida
  limited liability company,

          Plaintiff,
  v.

  GLOBENET CABOS SUBMARINOS
  AMERICA INC., a Delaware for-profit
  corporation; CARIBBEAN CROSSINGS,
  LTD., INC.; and JOHN DOES 1-100,

          Defendants.
                                                  /
  GLOBENET CABOS SUBMARINOS
  AMERICA INC., a Delaware for-profit
  Corporation,

          Counter-Plaintiff,
  v.

  SOUTH SPANISH TRAIL, LLC, a Florida
  limited liability company, and BOARD OF
  TRUSTEES OF THE INTERNAL
  IMPROVEMENT TRUST FUND OF THE
  STATE OF FLORIDA,

          Counter/Third-Party Defendants.
                                                  /
  SOUTH SPANISH TRAIL, LLC,

          Cross-Plaintiff,
  v.

  BOARD OF TRUSTEES OF THE
  INTERNAL IMPROVEMENT TRUST FUND
  OF THE STATE OF FLORIDA, UNITED
  STATES OF AMERICA,

          Cross-Defendants.
                                                  /
                                                      1

                                             TOBIN & REYES, P.A.
       MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 2 of 7




        PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT ON LACK
            OF AGREEMENT WITH/AUTHORITY FROM GLOBENET FOR
              CARIBBEAN CROSSINGS’ CABLE(S) ON THE PROPERTY

         Plaintiff/Counter-Defendant, South Spanish Trail, LLC (“SST”), by and through

  undersigned counsel and pursuant to Florida Rule of Civil Procedure 1.510 and/or Federal Rule of

  Civil Procedure 56, moves for entry of partial summary judgment against Defendant/Counter-

  Plaintiff, Caribbean Crossings, Ltd., Inc. (“CC”), finding that CC has no agreement with

  Defendant/Counter-Plaintiff, Globenet Cabos Submarinos America Inc. (“Globenet”) or rights

  granted by Globenet that would authorize CC’s subject cable(s) (“CC Cable(s)”) to be on SST’s

  subject property (“Property”), and as such CC’s third, sixth, seventh, tenth, eleventh, twelfth,

  fourteenth, sixteenth, seventeenth, eighteenth, and twenty-fourth affirmative defenses fail (in

  whole or part) as a matter of law, stating:

                                          INTRODUCTION

         CC alleges that Globenet has authorized CC Cable(s) to be on the Property by virtue of a

  license agreement between Globenet and CC and/or pursuant to rights granted to Globenet in

  certain easements/consent to use easements that allegedly allow Globenet to authorize CC to use

  Globenet’s conduits that traverse the Property. Yet no agreement has been produced (that remains

  in effect) that could arguably grant CC the right for the CC Cable(s) to be on the Property, nor

  does Globenet have the right under any easements/consent to use easements to grant such a right

  to CC. Therefore, summary judgment should be granted finding that CC has no agreement with

  Globenet or rights granted by Globenet that would authorize the CC Cable(s) to be on the Property.

         In support of this Motion, SST relies upon CC’s Answer, Defenses, Affirmative Defenses

  and Counterclaims to Plaintiff’s Amended Complaint, filed October 20, 2020, and exhibits thereto




                                                   2

                                           TOBIN & REYES, P.A.
     MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 3 of 7




  (“CC Answer”), attached hereto as Exhibit “A,” and the License Agreement between Atlantica

  USA LLC and CC produced by Globenet (“License Agreement”), attached hereto as Exhibit “B.”

                                         LEGAL STANDARD

          Summary judgment is appropriate where “the pleadings, depositions, answers to

  interrogatories, and admissions on file, together with the affidavits, if any show that there is no

  genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

  of law.” Fed. R. Civ. P. 56(c); see also Fla. R. Civ. P. 1.510(c) and 1.510(d). There are no material

  factual disputes here that would preclude summary judgment. Even if some allegations of fact

  discrepancies were to arise, such allegations would not preclude summary judgment here because

  “the mere existence of some alleged factual dispute between the parties will not defeat an otherwise

  properly supported motion for summary judgment; the requirement is that there be no genuine

  issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

                                              ARGUMENT

  I.      CC HAS NO AGREEMENT WITH OR RIGHT GRANTED TO IT BY GLOBENET
          THAT AUTHORIZE THE CC CABLE(S) TO BE ON THE PROPERTY

          In the CC Answer, CC admits that “Globenet owns the fiber optics cable system used by”

  CC (para. 15), and that the CC Cable(s) “runs through Globenet’s cable conduit and that Caribbean

  has no right or authorization to move or otherwise disturb Globenet’s cable system (para. 34).

          Referring to certain Consent to Use easements granted to Globenet and its purported

  predecessors in interest by the federal government (“U.S. Consents”), attached to the CC Answer

  as Exhibits A through C, CC further alleges that, “[p]ursuant to those rights it received from the

  federal government, Globenet has the right to authorize the use of its cable system to companies

  like Caribbean” (Affirmative Defense No. 3); see also Affirmative Defense No. 14 (“Pursuant to

  those rights, Globenet has properly authorized Caribbean to use its cable system.”); Affirmative

                                                     3

                                             TOBIN & REYES, P.A.
       MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 4 of 7




  Defense No. 18 (“The United States granted Globenet an easement in and to the Submerged Lands,

  pursuant to which Globenet authorized Caribbean to use the cable system.”).

         Similarly, referring to certain easements granted by the State of Florida to Globenet

  (“Florida Easements”), attached to the CC Answer as Exhibits I and J, CC also suggests that, while

  the Florida Easements are allegedly erroneous in that they do not cover the area where Globenet’s

  cable system and the CC Cable(s) are actually located on the Property (see paras. 17 and 18), the

  Florida Easements can be corrected “to give Caribbean a state sovereign submerged lands

  easement corresponding to the as-built subterranean path traversed by Caribbean’s cable through

  the” Property (para. 21).

         Lastly, Globenet has previously produced the License Agreement between Atlantica USA

  LLC (“Atlantica”) and CC (Ex. B), thereby suggesting that the License Agreement may authorize

  the CC Cable(s) to be on the Property.

         None of these documents, however, authorize (or can authorize) the CC Cables(s) to

  be on the Property, and thus CC has no agreement with or right granted to it by Globenet that

  authorize the CC Cable(s) to be on the Property.

         As to the U.S. Consents, only the consent attached as Exhibit C to the CC Answer (“2020

  U.S. Consent”) even covers the area where the CC Cable(s) are actually located, thus the prior two

  consents are of no relevance. Regardless, none of the U.S. Consents were granted to CC, and by

  their terms they cannot be transferred to CC absent prior written consent from the federal

  government. See, e.g., 2020 U.S. Consent, ¶ 16. There is no such prior written consent from the

  federal government allowing CC to utilize the U.S. Consents for the CC Cable(s), nor is there

  anything in the U.S. Consents that allows Globenet to authorize the CC Cable(s) on the Property.




                                                     4

                                           TOBIN & REYES, P.A.
     MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 5 of 7




         Moreover, the U.S. Consents can only grant rights that the federal government has, and

  such rights are limited to an easement for the construction, improvement, and maintenance of the

  Intracoastal Waterway. See U.S. Consents, Whereas clauses. Further, the U.S. Consents require

  consent from the owner of the underlying property owner (i.e., SST), and neither SST nor the State

  of Florida (if the State of Florida were the owner of the underlying property, but it is not), has

  granted consent to Globenet or CC for the use of the Property.

         As to the Florida Easements, as CC admits, they do not even cover the are a where the CC

  Cable(s) are located on the Property, thus they cannot grant CC a right to occupy the Property with

  the CC Cable(s). Moreover, even if the Florida Easements covered the area where the CC Cable(s)

  are located on the Property, the Florida Easements were not granted to CC, and by their terms they

  cannot be assigned absent prior written consent from the State of Florida. See Florida Easements,

  ¶ 9. There is no such prior written consent from the State of Florida assigning or allowing CC to

  utilize the Florida Easements for the CC Cable(s), nor is there anything in the Florida Easements

  that allows Globenet to authorize the CC Cable(s) on the Property.

         Lastly, the License Agreement expired by its terms in October 2020.             See License

  Agreement, ¶ 2. As an initial matter, neither Globenet nor CC has produced any assignment or

  other authorization to Globenet from Atlantica. Further, there is no right to renew in the License

  Agreement, nor has Atlantica, Globenet, or CC produced a new license agreement to take the place

  of the License Agreement. Moreover, the License Agreement requires that the CC Cable(s) be

  removed upon the expiration or termination of the License Agreement. Id. at ¶ 4(F).

         Notably, even if the License Agreement were still in effect or was renewed, it requires CC

  to obtain all governmental approvals needed to use the Globenet conduit, and thus CC would be

  required to obtain consent from the federal government by way of a Consent to Use easement prior


                                                   5

                                           TOBIN & REYES, P.A.
     MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 6 of 7




  to construction, which necessarily also requires the consent of the underlying owner of the Property

  for such Consent to Use easement to be valid. Id. at ¶¶ 1(D) and 4. As such, CC would require

  SST’s consent (or the State of Florida’s consent if the Property were owned by the State of Florida),

  which CC does not have and has apparently been unable to obtain over the past several years.

         Accordingly, summary judgment should be granted finding that CC has no agreement with

  Globenet or rights granted by Globenet that would authorize the CC Cable(s) to be on the Property,

  and thus CC’s third, sixth, seventh, tenth, eleventh, twelfth, fourteenth, sixteenth, seventeenth,

  eighteenth, and twenty-fourth affirmative defenses fail (in whole or part) as a matter of law.

         WHEREFORE, Plaintiff/Counter-Defendant, South Spanish Trail, LLC, hereby requests

  that the Court enter partial summary judgment in favor of SST and against Defendant/Counter-

  Plaintiff, Caribbean Crossings, Ltd., Inc.: (1) finding that CC has no valid agreement with Globenet

  or rights granted by Globenet (or any other entity having an interest in the Property) that would

  authorize the CC Cable(s) to be on the Property; (2) finding that CC cannot rely on any agreement

  of Globenet to occupy the Property with the CC Cable(s); (3) finding that CC has no

  agreement/easement with/from the State of Florida within the ICW; (4) finding that CC has no

  Consent to Use easement with the federal government within the ICW; (5) finding that CC’s third,

  sixth, seventh, tenth, eleventh, twelfth, fourteenth, sixteenth, seventeenth, eighteenth, and twenty-

  fourth affirmative defenses fail (in whole or part) as a matter of law to the extent they rely on any

  agreement with and/or rights purportedly granted by Globenet; (6) requiring the immediate

  removal of the CC Cable(s) from the Property; and (7) granting such other and further relief as the

  Court deems just and proper.

                                                        Respectfully submitted,

                                                        s/Sacha A. Boegem
                                                        Ricardo A. Reyes, FBN 864056
                                                    6

                                           TOBIN & REYES, P.A.
     MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
Case 9:21-cv-80728-AMC Document 27 Entered on FLSD Docket 04/30/2021 Page 7 of 7




                                                       Sacha A. Boegem, FBN 0024930
                                                       Carrie S. Robinson, FBN 354030
                                                       TOBIN & REYES, P.A.
                                                       Attorneys for South Spanish Trail, LLC
                                                       Mizner Park Office Tower
                                                       225 N. E. Mizner Blvd., Suite 510
                                                       Boca Raton, FL 33432
                                                       Phone: (561) 620-0656
                                                       Fax: (561) 620-0657
                                                       eservice@tobinreyes.com
                                                       rar@tobinreyes.com
                                                       sboegem@tobinreyes.com
                                                       csrobinson@tobinreyes.com

                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 30, 2021, I electronically filed the foregoing document with

  the Clerk of the Court using the CM/ECF system, which sent notification of said filing to all

  CM/ECF participants.

                                                       s/Sacha A. Boegem
                                                       Sacha A. Boegem, FBN 0024930




                                                   7

                                           TOBIN & REYES, P.A.
     MIZNER PARK OFFICE TOWER • 225 N. E. MIZNER BOULEVARD, SUITE 510 • BOCA RATON, FLORIDA • 33432
